918 F.2d 173Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Stephen G. HOWARD, Plaintiff-Appellant,andLinda R. KROLL, Gladys J. Howard, Plaintiffs,v.Allyn R. SIELAFF, Individually and as Director, Departmentof Corrections, John Latane Lewis, III, Thomas B. Fairburn,Individually and Officially, Garland K. Stokes, Individuallyand Officially, William P. Rodgers, Individually &amp;Officially, John B. Taylor, Individually &amp; Officially, MajorSanphillipio, Individually and Officially, Paul Watson,Lieutenant, Individually and Officially, George Brown, III,Sergeant, Individually &amp; Officially, Wesley P. Terry,Individually &amp; Officially, J. Edmonds, Sergeant, MosesLewis, Danny Lee Anderson, Sergeant, Individually &amp;Officially, C.E. Johnson, Corporal, Individually &amp;Officially, Glenn H. Reed, Robert J. Winston, Roger D.Gillispie, Individually &amp; Officially, Herman Akers,Individually &amp; Officially, James Edmondson, Individually &amp;Officially, Robert W. Palmer, Individually &amp; Officially,John Does, Officer Simms, Individually &amp; Officially, LeonWilliams, Nurse, Individually &amp; Officially, Defendants-Appellees.
    No. 90-6589.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 29, 1990.Decided Nov. 19, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  David G. Lowe, United States Magistrate.  (CA-87-258-R)
      Stephen G. Howard, appellant pro se.
      Mark Ralph Davis, Eric Karl Gould Fiske, Richard Francis Gorman, III, Office of the Attorney General of Virginia, Richmond, Va., for appellees.
      E.D.Va.
      Dismissed.
      Before WIDENER, PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Stephen G. Howard filed a 42 U.S.C. Sec. 1983 complaint against prison officials raising numerous claims.  Defendants responded and filed a counterclaim.  The district court granted defendants' motion for summary judgment on Howard's Sec. 1983 complaint but did not rule on defendants' counterclaim.  Howard seeks to appeal.  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."   Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      5
      DISMISSED.
    
    